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                                 FOR PUBLICATION

                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


                 BROIDY CAPITAL MANAGEMENT,                No. 18-56256
                 LLC; and ELLIOTT BROIDY,
                               Plaintiffs-Appellants,         D.C. No.
                                                           2:18-cv-02421-
                                  v.                           JFW-E

                 STATE OF QATAR,
                               Defendant-Appellee.           OPINION

                   Appeal from the United States District Court for the
                             Central District of California
                       John F. Walter, District Judge, Presiding

                        Argued and Submitted February 11, 2020
                                 Pasadena, California

                                 Filed December 2, 2020

                       Before: Jay S. Bybee, Daniel P. Collins, and
                             Daniel A. Bress, Circuit Judges.

                                Opinion by Judge Collins
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                                           SUMMARY *


                             Foreign Sovereign Immunities Act

                    The panel affirmed the district court’s dismissal, for lack
                of subject matter jurisdiction under the Foreign Sovereign
                Immunities Act, of an action brought against the State of
                Qatar, alleging violation of the Computer Fraud and Abuse
                Act and other causes of action.

                   The panel held that neither the FSIA’s exception to
                immunity for tortious activity nor its exception for
                commercial activity applied, and the State of Qatar therefore
                was immune from jurisdiction.

                    The panel concluded that all of plaintiffs’ tort claims
                were barred under the discretionary function exclusion from
                the tortious activity exception because the challenged
                conduct met two criteria: (1) it was discretionary in nature
                or involved an element of judgment or choice; and (2) the
                judgment was of the kind that the exception was designed to
                shield. The first criterion was met because there was no
                showing that Qatari or international law proscribed Qatar’s
                actions. The second criterion was met because Qatar’s
                alleged actions involved considerations of public policy.

                    Plaintiffs argued that the commercial activity exception
                applied because their action was based upon a commercial
                activity carried on in the United States by Qatar. The panel
                concluded that plaintiffs’ claims were based on the alleged

                         *
                           This summary constitutes no part of the opinion of the court.
                It has been prepared by court staff for the convenience of the reader.
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                surreptitious intrusion into their servers and email accounts
                in order to obtain information and the dissemination of such
                information to others, including persons in the media, and
                this conduct did not qualify as commercial activity within
                the meaning of the FSIA.


                                         COUNSEL

                Shannen Wayne Coffin (argued), Filiberto Agusti,
                Christopher M. Re, Linda C. Bailey, and Mark C. Savignac,
                Steptoe & Johnson LLP, Washington, D.C., for Plaintiffs-
                Appellants.

                David Meir Zionts (argued), Robert A. Long Jr., Jonathan
                Gimblett, Lauren K. Moxley, and Megan M. O’Neill,
                Covington & Burling LLP, Washington, D.C.; Mitchell A.
                Kamin, Neema T. Sahni, and Rebecca G. Van Tassell,
                Covington & Burling LLP, Los Angeles, California; for
                Defendant-Appellee.


                                         OPINION

                COLLINS, Circuit Judge:

                    Plaintiffs-Appellants Elliott Broidy and his investment
                firm, Broidy Capital Management, LLC, sued the State of
                Qatar and various other defendants after Qatari agents
                allegedly hacked into Plaintiffs’ computer servers, stole their
                confidential information, and leaked it to the media in a
                retaliatory effort to embarrass Broidy and thereby to
                neutralize his ability to continue to effectively criticize the
                Qatari regime and its alleged support of terrorism. The
                district court dismissed the claims against Qatar for lack of
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                subject matter jurisdiction, concluding that Qatar was
                immune under the Foreign Sovereign Immunities Act
                (“FSIA”), 28 U.S.C. § 1602 et seq. Although for somewhat
                different reasons, we agree with the district court that subject
                matter jurisdiction is lacking under the FSIA, and we
                therefore affirm its judgment dismissing this action.

                                               I

                                               A

                    Qatar’s motion to dismiss relied on a “facial attack on
                the subject matter jurisdiction of the district court” under the
                FSIA, and therefore, in reviewing de novo the district court’s
                order granting that motion, we take as true the well-pleaded
                allegations of Plaintiffs’ operative First Amended
                Complaint. Doe v. Holy See, 557 F.3d 1066, 1073 (9th Cir.
                2009); see also Holden v. Canadian Consulate, 92 F.3d 918,
                920 (9th Cir. 1996) (de novo review applies to dismissal for
                lack of jurisdiction under the FSIA). In addition, we note
                that Plaintiffs’ opposition to Qatar’s motion to dismiss
                requested leave to amend “in order to incorporate additional
                allegations based on Plaintiffs’ discovery efforts,” and the
                then-current status of those discovery efforts were set forth
                in a contemporaneously filed declaration from Plaintiffs’
                counsel. The district court, however, denied leave to amend
                based on its conclusion that “discovery had failed to provide
                any evidence that might cure or change the Court’s analysis
                that it lacks subject matter jurisdiction over Qatar” and that
                further amendment would be futile. Because we review that
                determination de novo, see Thinket Ink Info. Res., Inc. v. Sun
                Microsystems, Inc., 368 F.3d 1053, 1061 (9th Cir. 2004), and
                because we apply the same standards in evaluating the
                sufficiency of a proposed amendment as we do to the
                underlying complaint, see Miller v. Rykoff-Sexton, Inc.,
                845 F.2d 209, 214 (9th Cir. 1988), we likewise take as true
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                for purposes of this appeal the additional well-pleaded
                contentions that are contained in that declaration of counsel.
                Considering these allegations together, we take the
                following factual assertions as true for purposes of this
                appeal.

                    In response to being sanctioned diplomatically and
                commercially by several of its neighbors in June 2017 for its
                alleged “support for terrorism and its close ties to Iran,”
                Qatar launched “a wide-ranging and extremely well-
                resourced effort to influence public opinion in the United
                States.” In addition to attempting to burnish Qatar’s image
                with the U.S. Government, Qatar’s “public relations
                campaign” sought to “curtail[] the influence of individuals
                that could undermine the standing of the State of Qatar in the
                United States.” One of the persons whose influence Qatar
                sought to blunt was Elliott Broidy (“Broidy”), the CEO of an
                investment firm in Los Angeles called Broidy Capital
                Management, LLC (“BCM”). In addition to his business
                ventures, Broidy has been active in public affairs, serving on
                the Homeland Security Advisory Council for several years
                and also taking leadership roles in various political and civic
                organizations. Starting in March 2017, Broidy became an
                outspoken critic of Qatar, condemning it for its alleged
                support for terrorism. His activities were perceived by Qatar
                as thwarting its public relations efforts, such as when Broidy
                and others persuaded many “American Jewish leaders to
                refuse to meet with the Emir” of Qatar when the Emir
                traveled to New York in the fall of 2017 for the General
                Assembly of the United Nations. Qatar also perceived that
                Broidy “‘had been influential’ in shaping the White House’s
                views on Qatar.” As a result, one registered agent for Qatar
                noted that “Broidy’s name [came] up in Embassy meetings
                often,” and Qatar decided to target him in order to limit his
                future influence.
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                    The centerpiece of Qatar’s purported targeting of Broidy
                was a concerted series of cyberattacks aimed at BCM’s
                California-based computer servers. In the latter half of 2017,
                Qatar retained the New York-based firm of Global Risk
                Advisors LLC (“GRA”) to coordinate that effort, and GRA
                thereafter introduced Qatar “to cyber mercenaries in various
                countries to coordinate technical aspects of the illegal
                intrusion.” Thereafter, through a series of “spearphishing”
                attacks aimed at several persons connected to Broidy,
                including his executive assistant, the hackers obtained access
                to BCM’s Los Angeles-based servers. Beginning on January
                16, 2018, and continuing through at least February 25, 2018,
                the hackers engaged in “thousands” of instances of
                unauthorized access into BCM’s servers and obtained
                “Plaintiffs’ private communications, emails, documents and
                intellectual property.”

                    Subsequent forensic investigation revealed that the
                hackers were largely able to hide the origins of the attacks
                on BCM’s servers by routing their communications through
                Virtual Private Networks (“VPNs”). However, two brief
                glitches in the VPN system revealed that at least two attacks
                in February 2018 originated from an IP address in Doha,
                Qatar, that belongs to an internet service provider that is
                majority-owned by Qatar. Additional forensic analysis also
                established that persons using IP addresses from Vermont
                “directly accessed Plaintiffs’ servers 178 times from
                February 12, 2018 to February 25, 2018.” Plaintiffs contend
                that these Vermont-based attacks were direct, i.e., that they
                were not “associated with VPNs or similar anonymization
                tools.”

                    After the hackers obtained Plaintiffs’ private documents,
                the stolen materials were converted into PDF format and
                distributed to several U.S. media outlets via email and hand-
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                delivery. A New York-based public relations firm that Qatar
                had previously hired in connection with its efforts to
                influence U.S. public opinion, Stonington Strategies LLC
                (“Stonington”), participated in this plan to “organize and
                disseminate Plaintiffs’ stolen emails to media
                organizations.” The metadata from some of these leaked
                PDFs revealed timestamps from the Central and Eastern
                Time Zones, suggesting that the conversion of these files
                into PDF format took place in the United States. Plaintiffs
                also allege that “many of the instances of unlawful
                distribution of illegally obtained [documents] took place
                within the United States.”

                    The result of the dissemination of the stolen materials
                was an unflattering series of articles in March 2018 in the
                Wall Street Journal, the New York Times, and the
                Huffington Post alleging that, in exchange for tens of
                millions of dollars, Broidy and his wife had sought to scuttle
                a criminal investigation connected to a Malaysian state
                investment fund. As a consequence, Plaintiffs suffered
                reputational harm and other injuries.

                                              B

                    Based on these allegations, Plaintiffs filed this action
                against Qatar and various other defendants in the district
                court. In the operative First Amended Complaint, Plaintiffs
                asserted 10 causes of action against Qatar, GRA, Stonington,
                and numerous individuals arising from the alleged
                unauthorized access into Plaintiffs’ servers and the
                subsequent distribution of stolen materials. Specifically,
                Plaintiffs alleged that the unlawful intrusion into the servers
                to obtain information was actionable under the common law
                tort of intrusion upon seclusion, as well as under the civil
                suit provisions of the Computer Fraud and Abuse Act,
                18 U.S.C. § 1030(g); the Stored Communications Act,
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                18 U.S.C. § 2707(a); the Digital Millennium Copyright Act,
                17 U.S.C. § 1203(a); and the California Comprehensive
                Computer Data Access and Fraud Act, see Cal. Penal Code
                § 502(e). Plaintiffs also alleged that the unlawful acquisition
                and dissemination of the stolen materials were actionable
                under common-law theories of conversion and intrusion
                upon seclusion, as well as under the civil actions authorized
                by California Penal Code § 496(c) (relating to receipt of
                stolen property); the California Uniform Trade Secrets Act,
                see Cal. Civ. Code §§ 3426.2, 3426.3; and the Defend Trade
                Secrets Act, 18 U.S.C. § 1836(b). The complaint also
                alleged a cause of action for “civil conspiracy,” but as the
                district court correctly noted, there is no such cause of action
                under California law. See, e.g., Kenne v. Stennis, 179 Cal.
                Rptr. 3d 198, 210 (Ct. App. 2014) (“Conspiracy is not a
                cause of action. It is a theory of liability under which persons
                who, although they do not actually commit a tort themselves,
                share with the tortfeasor or tortfeasors a common plan or
                design in its perpetration.”). Based on these claims,
                Plaintiffs sought declaratory, monetary, and injunctive
                relief, as well as attorneys’ fees. 1

                    Qatar filed a motion to dismiss under Federal Rules of
                Civil Procedure 12(b)(1) and 12(b)(2) for lack of subject
                matter and personal jurisdiction, asserting that it was
                immune under the FSIA. In opposing Qatar’s motion,
                Plaintiffs argued that two of the FSIA’s exceptions—the
                tortious activity exception and the commercial activity
                exception—defeated Qatar’s claimed immunity. On August
                8, 2018, the district court granted Qatar’s motion, finding
                both exceptions inapplicable. The tortious activity exception
                did not apply, according to the district court, because
                Plaintiffs had failed to “allege at least ‘one entire tort’

                    1
                      Plaintiffs also sought punitive damages, but such damages are not
                available against Qatar. See 28 U.S.C. § 1606.
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                occurring in the United States” as required by our decision
                in Olsen by Sheldon v. Government of Mexico, 729 F.2d 641,
                646 (9th Cir. 1984), abrogated in part on other grounds as
                recognized in Joseph v. Office of Consulate Gen. of Nigeria,
                830 F.2d 1018, 1026 (9th Cir. 1987). The district court
                concluded that all of the torts alleged by Plaintiffs were
                “premised on allegedly wrongful conduct by Qatar, its
                agents, or co-conspirators in gaining access to Plaintiffs’
                data servers from outside the United States, making each tort
                transnational.” The alleged attacks from Vermont, the court
                held, “were merely the continuation of purported conduct
                allegedly originating in Qatar and ‘do not demonstrate an
                independent tort occurring entirely within the United
                States’” (citation omitted). The district court held that the
                commercial activity exception was inapplicable because
                Qatar’s alleged conduct—hacking and cyberespionage—did
                not qualify as “commercial activity” within the meaning of
                the FSIA. The district court therefore dismissed the action
                against Qatar without leave to amend.

                    Shortly thereafter, the district court dismissed GRA,
                Stonington, and various individual defendants affiliated with
                those entities for lack of personal jurisdiction. With the
                approval of the district court, Plaintiffs’ claims against three
                remaining individual defendants, who had not been served,
                were voluntarily dismissed without prejudice and a formal
                “final, appealable judgment” was entered by the district
                court. See Galaza v. Wolf, 954 F.3d 1267, 1272 (9th Cir.
                2020) (where dismissal of remaining claims without
                prejudice is done with “the approval and meaningful
                participation of the district court,” the resulting judgment is
                final and appealable). Plaintiffs timely appealed the
                judgment, challenging only the dismissal of the claims
                against Qatar.
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                                                II

                     The FSIA is the “‘sole basis’” for obtaining jurisdiction
                 over a foreign state in a civil action. Republic of Argentina
                 v. Weltover, Inc., 504 U.S. 607, 611 (1992) (citation
                 omitted). Under the FSIA, a foreign state “shall be immune
                 from the jurisdiction of the courts of the United States”
                 unless one of the Act’s enumerated exceptions applies.
                 28 U.S.C. § 1604. This default rule of immunity reflects
                 “the absolute independence of every sovereign authority”
                 and also “helps to induce each nation state, as a matter of
                 international comity, to respect the independence and dignity
                 of every other, including our own.” Bolivarian Republic of
                 Venezuela v. Helmerich & Payne Int’l Drilling Co.,
                 137 S. Ct. 1312, 1319 (2017) (simplified).

                     The Act, however, contains a number of explicit
                 exceptions to this default rule of foreign sovereign
                 immunity, thereby acknowledging that there are some
                 limited situations in which a foreign state entity should be
                 subject to suit. In establishing such exceptions, the FSIA
                 generally codifies the so-called “restrictive theory” of
                 sovereign immunity, under which immunity “is recognized
                 with regard to sovereign or public acts (jure imperii) of a
                 state, but not with respect to private acts (jure gestionis).”
                 Siderman de Blake v. Republic of Argentina, 965 F.2d 699,
                 705–06 (9th Cir. 1992) (citation and internal quotation
                 marks omitted). Although this “restrictive theory of
                 sovereign immunity was developed in the context of
                 commercial activities of states, . . . it is not limited to claims
                 arising out of contractual relationships,” and in appropriate
                 circumstances it also imposes liability upon a foreign state
                 for torts, such as traffic accidents, committed by that state’s
                 agents. See Restatement (Third) of the Foreign Relations
                 Law of the United States § 454 cmt. a (Am. L. Inst. 1987).
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                 The FSIA thus contains separate exceptions that permit
                 certain actions against foreign states based on their
                 commercial activities, 28 U.S.C. § 1605(a)(2), as well as
                 certain actions based on the tortious acts of their agents, id.
                 § 1605(a)(5). If either of these exceptions is applicable, then
                 the district court may assert jurisdiction over a “nonjury civil
                 action against [the] foreign state,” but only “as to any claim
                 for relief in personam with respect to which the foreign state
                 is not entitled to immunity.” 28 U.S.C. § 1330(a); see also
                 Argentine Republic v. Amerada Hess Shipping Corp.,
                 488 U.S. 428, 434 (1989) (“Sections 1604 and 1330(a) work
                 in tandem: § 1604 bars . . . jurisdiction when a foreign state
                 is entitled to immunity, and § 1330(a) confers jurisdiction
                 . . . when a foreign state is not entitled to immunity.”). 2

                      There is, of course, no dispute that the State of Qatar
                 qualifies as a “foreign state” for purposes of the FSIA, and it
                 is therefore immune from jurisdiction here unless Plaintiffs’
                 claims fit within one of the FSIA’s enumerated exceptions.
                 Plaintiffs invoke both the tortious activity exception and the
                 commercial activity exception, and it is their burden to make
                 an initial showing as to the applicability of one or both of
                 them. Packsys, S.A. v. Exportadora de Sal, S.A., 899 F.3d
                 1081, 1088 (9th Cir. 2018). We agree with the district court
                 that as a matter of law neither exception is applicable here,
                 although our reasoning differs in some respects from the
                 district court’s. We discuss each exception in turn.



                     2
                        Plaintiffs are therefore wrong in suggesting that the district court
                 can assert jurisdiction over this entire action against Qatar so long as any
                 one of their claims fits within an exception in the FSIA. This “foot-in-
                 the-door” approach cannot be reconciled with the limited grant of
                 jurisdiction in § 1330(a). See Simon v. Republic of Hungary, 812 F.3d
                 127, 141 (D.C. Cir. 2016) (courts must “make FSIA immunity
                 determinations on a claim-by-claim basis”).
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                                                A

                     Subject to two enumerated exclusions, the FSIA’s
                 tortious activity exception allows a foreign sovereign to be
                 sued in any case:

                         in which money damages are sought against
                         a foreign state for personal injury or death, or
                         damage to or loss of property, occurring in
                         the United States and caused by the tortious
                         act or omission of that foreign state or of any
                         official or employee of that foreign state
                         while acting within the scope of his office or
                         employment.

                 28 U.S.C. § 1605(a)(5); see also Liu v. Republic of China,
                 892 F.2d 1419, 1425 (9th Cir. 1989). Although the actual
                 words of the statute require only that a claimant’s injury
                 occur in the United States, see 28 U.S.C. § 1605(a)(5), the
                 Supreme Court has stated that this exception “covers only
                 torts occurring within the territorial jurisdiction of the United
                 States,” Amerada Hess, 488 U.S. at 441. See also
                 Asociación de Reclamantes v. United Mexican States,
                 735 F.2d 1517, 1524 (D.C. Cir. 1984) (Scalia, J.) (“Although
                 the statutory provision is susceptible of the interpretation
                 that only the effect of the tortious action need occur here,
                 where Congress intended such a result elsewhere in the FSIA
                 it said so more explicitly.”). Accordingly, we have held that,
                 while not “every aspect of the tortious conduct” must “occur
                 in the United States,” the exception in § 1605(a)(5) applies
                 only where the plaintiff alleges “at least one entire tort
                 occurring in the United States.” Olsen, 729 F.2d at 646.

                     The parties vigorously dispute how Olsen’s “entire tort”
                 rule applies to Plaintiffs’ allegations in this case, but we find
                 it unnecessary to address this issue because Plaintiffs’ claims
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                 fall within one of § 1605(a)(5)’s express exclusions from the
                 tortious activity exception. Johnson v. Riverside Healthcare
                 Sys., LP, 534 F.3d 1116, 1121 (9th Cir. 2008) (“[W]e may
                 affirm based on any ground supported by the record.”). In
                 addition to preserving a foreign sovereign’s immunity over
                 a specified list of torts, § 1605(a)(5) also expressly precludes
                 any tort claim against a foreign state “based upon the
                 exercise or performance or the failure to exercise or perform
                 a discretionary function regardless of whether the discretion
                 be abused.” 28 U.S.C. § 1605(a)(5)(A). We conclude that
                 all of Plaintiffs’ tort claims are barred under this
                 “discretionary function” exclusion from the FSIA’s tortious
                 activity exception.

                     As we have previously observed, “[t]he language of the
                 discretionary function exclusion closely parallels the
                 language of a similar exclusion in the Federal Tort Claims
                 Act (‘FTCA’), so we look to case law on the FTCA when
                 interpreting the FSIA’s discretionary function exclusion.”
                 Holy See, 557 F.3d at 1083. Accordingly, the FSIA’s
                 discretionary function exclusion applies if the challenged
                 conduct “meets two criteria: (1) it is ‘discretionary in nature’
                 or ‘involve[s] an element of judgment or choice’ and (2) ‘the
                 judgment is of the kind that the discretionary function
                 exception was designed to shield.’” Id. at 1083–84 (quoting
                 United States v. Gaubert, 499 U.S. 315, 322–23 (1991)).
                 Although Qatar ultimately has the burden to establish that
                 the exclusion applies, that burden arises only if Plaintiffs
                 have “‘advance[d] a claim that is facially outside the
                 discretionary function exception.’” Id. at 1084 (citation
                 omitted). We conclude that the particular tortious conduct
                 that Plaintiffs allege in this case facially satisfies both of
                 Gaubert’s criteria, and that the discretionary function
                 exclusion therefore applies.
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                                                1

                     As the Supreme Court has recognized, “conduct cannot
                 be discretionary unless it involves an element of judgment
                 or choice.” Berkovitz v. United States, 486 U.S. 531, 536
                 (1988). Accordingly, the discretionary function exclusion
                 cannot apply when an applicable “statute, regulation, or
                 policy specifically prescribes a course of action.” Id.
                 (emphasis added). Put another way, a defendant is not
                 exercising discretion if it is “bound to act in a particular
                 way.” Gaubert, 499 U.S. at 329. Applying similar
                 reasoning, we have also held that the FTCA’s comparable
                 discretionary function exception does not apply when the
                 defendants’ assertedly discretionary actions are specifically
                 proscribed by applicable law. Fazaga v. FBI, 965 F.3d
                 1015, 1065 (9th Cir. 2020) (conduct that violates “federal
                 constitutional or statutory directives” is not within the
                 FTCA’s discretionary function exception); Tobar v. United
                 States, 731 F.3d 938, 946 (9th Cir. 2013) (same where
                 conduct violated agency’s “own regulations and policies”
                 (emphasis omitted)); Galvin v. Hay, 374 F.3d 739, 758 (9th
                 Cir. 2004) (“‘[F]ederal officials do not possess discretion to
                 violate constitutional rights.’” (citation omitted)). Plaintiffs
                 contend that “[t]his principle is dispositive here,” because
                 their operative complaint alleges multiple violations of
                 specific federal and state statutory prohibitions. We
                 disagree.

                     In drawing upon the relevant caselaw applicable to the
                 U.S. Government under the FTCA’s discretionary function
                 exception, we must apply those principles mutatis mutandis
                 in construing the scope of the similar language used in the
                 FSIA with respect to a foreign state. The discretion of the
                 U.S. Government is, of course, cabined by the applicable
                 limitations in the U.S. Constitution, federal statutes and
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                 regulations, and any other relevant binding source of law.
                 But the policy discretion of a foreign sovereign is not
                 evaluated by those same constraints, but rather by the
                 corresponding limitations that bind that sovereign, whether
                 contained in its own domestic law or (we will assume) in
                 applicable and established principles of international law.
                 We drew precisely this distinction in Risk v. Halvorsen,
                 936 F.2d 393 (9th Cir. 1991), in which we upheld Norway’s
                 immunity under the FSIA on the ground that the
                 discretionary function exclusion applied to the challenged
                 actions of Norwegian officials, despite the fact that those
                 actions “may constitute a violation of California criminal
                 law.” Id. at 396–97. We noted that we had previously held
                 that the FSIA’s discretionary function exclusion “‘is
                 inapplicable when an employee of a foreign government
                 violates its own internal law,’” but we concluded that this
                 principle did not apply in Risk, because there was “no
                 assertion that the Norwegian officials violated any
                 Norwegian law.” Id. at 396 (quoting Liu, 892 F.2d at 1431)
                 (emphasis added); see also Liu, 892 F.2d at 1431
                 (discretionary function exclusion did not apply where, in
                 ordering assassination, Taiwanese official had violated
                 Taiwanese law). And Risk similarly distinguished Letelier
                 v. Republic of Chile, 488 F. Supp. 665 (D.D.C. 1980), on the
                 ground that it involved an alleged assassination in violation
                 of international law. Risk, 936 F.2d at 396 (noting that
                 Letelier addressed “‘action that is clearly contrary to the
                 precepts of humanity’”); cf. MacArthur Area Citizens Ass’n
                 v. Republic of Peru, 809 F.2d 918, 922 n.4 (D.C. Cir. 1987)
                 (similarly distinguishing Letelier in a case involving Peru’s
                 alleged criminal violation of D.C. zoning laws in
                 establishing a chancery, noting that “it is hardly clear that,
                 even if a criminal act were shown, it would automatically
                 prevent designation of Peru’s acts as discretionary”).
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                     The alleged actions that Qatar took here have not been
                 shown to violate either Qatari law or applicable international
                 law. The parties do not dispute that, under Qatari law, the
                 various criminal prohibitions against hacking, theft, or
                 disclosure of trade secrets do not bind government agents
                 acting in accordance with official orders. Indeed, it would
                 perhaps be surprising if the domestic law of any country
                 prohibited its own government agents from engaging in
                 covert cyberespionage and public relations activities aimed
                 at foreign nationals in other countries. Nor have the specific
                 forms of cyberespionage alleged here been shown to violate
                 judicially enforceable principles of international law. Cf.
                 Letelier, 488 F. Supp. at 673. The status of peacetime
                 espionage under international law is a subject of vigorous
                 debate, see, e.g., Patrick C.R. Terry, “The Riddle of the
                 Sands”—Peacetime Espionage and Public International
                 Law, 51 Geo. J. Int’l L. 377, 380–85 (2020); A. John Radsan,
                 The Unresolved Equation of Espionage and International
                 Law, 28 Mich. J. Int’l L. 595, 601–07 (2007), and the parties
                 have not pointed us to any sufficiently clear rule of
                 international law that would impose a mandatory and
                 judicially enforceable duty on Qatar not to do what it
                 allegedly did here. Cf. Sosa v. Alvarez-Machain, 542 U.S.
                 692, 724–31 (2004) (explaining why courts should exercise
                 great caution before purporting to identify and enforce
                 norms of international law).

                       In the absence of a showing that Qatari or international
                 law proscribes Qatar’s actions here, that alleged conduct
                 involves an exercise of discretion by Qatar that satisfies the
                 first Gaubert criterion. Cf. Fazaga, 965 F.3d at 1024, 1065
                 (to the extent that “Defendants did not violate any federal
                 constitutional or statutory directives, the discretionary
                 function exception will bar Plaintiffs’ FTCA claims”
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                 concerning alleged “covert surveillance program” aimed at
                 mosque (emphasis added)).

                                                2

                     There is, however, a further element that must be
                 satisfied before the FSIA’s discretionary function exclusion
                 may be applied, viz., the “judgment” involved must be “‘of
                 the kind that the discretionary function exception was
                 designed to shield.’” Holy See, 557 F.3d at 1083–84
                 (citation omitted). This criterion is satisfied if the challenged
                 “‘governmental actions and decisions’” are “‘based on
                 considerations of public policy.’” Id. at 1084 (citation
                 omitted); see also Risk, 936 F.2d at 395 (challenged acts
                 must be “‘grounded in social, economic, and political
                 policy’” (citation omitted)). Thus, “[a]lthough driving
                 requires the constant exercise of discretion, the official’s
                 decisions in exercising that discretion can hardly be said to
                 be grounded in regulatory policy.” Gaubert, 499 U.S. at 325
                 n.7. Here, there can be little doubt that Qatar’s alleged
                 actions involved considerations of public policy that are
                 sufficient to satisfy Gaubert’s second criterion.

                     Plaintiffs’ complaint alleges that, in response to a
                 diplomatic and economic boycott, Qatar undertook the
                 challenged actions as one component of a public-relations
                 strategy “to influence public opinion in the United States”
                 by “curtailing the influence of individuals,” such as Broidy,
                 who “could undermine the standing of the State of Qatar in
                 the United States.” Indeed, although the Letelier court found
                 that the discretionary function exclusion did not apply to the
                 challenged assassination in that case because it “clearly”
                 violated international law—i.e., because it failed what we
                 have described as Gaubert’s first criterion—that court also
                 expressly acknowledged that Chile’s act, however
                 reprehensible it might have been, was “one most assuredly
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                 involving policy judgment.” 488 F. Supp. at 673; see also
                 Macharia v. United States, 334 F.3d 61, 67 (D.C. Cir. 2003)
                 (because matters of embassy location and security involved
                 considerations that “‘affect foreign relations,’” they satisfied
                 Gaubert’s “second step” (citation omitted)). We therefore
                 conclude that Qatar’s alleged conduct here involved “the
                 type of discretionary judgments that the exclusion was
                 designed to protect.” Holy See, 557 F.3d at 1084.

                      Because Plaintiffs have failed to “‘advance a claim that
                 is facially outside the discretionary function’” exclusion, the
                 tortious activity exception to foreign sovereign immunity in
                 § 1605(a)(5) is inapplicable here as a matter of law. Id.
                 (citation omitted).

                                                B

                     Plaintiffs also contend that the FSIA’s commercial
                 activity exception allows the U.S. courts to assert
                 jurisdiction over Plaintiffs’ claims against Qatar, but we
                 again disagree.

                      Section 1605(a)(2) contains three separate clauses that
                 set forth three alternative variations for asserting jurisdiction
                 over a foreign state based on its commercial activities. In
                 this court, Plaintiffs rely only on one of the formulations,
                 namely, the one that allows jurisdiction over a foreign state
                 in a “case . . . in which the action is based upon a commercial
                 activity carried on in the United States by the foreign state.”
                 28 U.S.C. § 1605(a)(2). In applying this clause, we must
                 first identify what are the activities on which “the action is
                 based” and then determine whether those activities are
                 “commercial” within the meaning of the FSIA. Id.
                 Applying this two-step analysis, we conclude that the
                 challenged actions of Qatar here do not constitute
                 “commercial activity.”
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                     As noted, the “crucial” first step “in determining whether
                 the basis of this suit was a commercial activity is defining
                 the ‘act complained of here.’” MOL, Inc. v. People’s
                 Republic of Bangladesh, 736 F.2d 1326, 1328 (9th Cir.
                 1984) (citation omitted); see also Saudi Arabia v. Nelson,
                 507 U.S. 349, 356 (1993). “Although the Act contains no
                 definition of the phrase ‘based upon,’” the Supreme Court
                 has held that the “phrase is read most naturally to mean those
                 elements of a claim that, if proven, would entitle a plaintiff
                 to relief under his [or her] theory of the case.” Nelson,
                 507 U.S. at 357. As explained earlier, all of Plaintiffs’
                 claims are based upon either or both of two types of
                 activities: (1) the surreptitious intrusion into Plaintiffs’
                 servers and email accounts in order to obtain information;
                 and (2) the dissemination of such information to others,
                 including persons in the media. See supra at 7–8. Plaintiffs
                 point out that these alleged activities are connected to other
                 allegedly commercial conduct (such as the hiring of a public
                 relations firm), but that other conduct is not what the suit “is
                 based” on. 28 U.S.C. § 1605(a)(2). Even taking as true
                 Plaintiffs’ allegations that Qatar entered into various
                 contracts in the United States to carry out its operations,
                 “those facts alone entitle [Plaintiffs] to nothing under their
                 theory of the case,” and these activities therefore “are not the
                 basis for [Plaintiffs’] suit.” Nelson, 507 U.S. at 358. It is the
                 “torts, and not the arguably commercial activities that
                 preceded [or followed] their commission,” that “form the
                 basis for [Plaintiffs’] suit.” Id.

                     The next question, then, is whether Qatar’s “tortious
                 conduct itself . . . qualif[ies] as ‘commercial activity’ within
                 the meaning of the Act.” Nelson, 507 U.S. at 358. The FSIA
                 defines “commercial activity” as “either a regular course of
                 commercial conduct or a particular commercial transaction
                 or act.” 28 U.S.C. § 1603(d). The statute further explains
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                 that the “commercial character of an activity shall be
                 determined by reference to the nature” of the activity, “rather
                 than by reference to its purpose.” Id. In assessing whether
                 the “nature” of particular state actions is commercial, courts
                 look to whether they “are the type of actions by which a
                 private party engages in trade and traffic or commerce.”
                 Weltover, 504 U.S. at 614 (simplified); see also Adler v.
                 Federal Republic of Nigeria, 219 F.3d 869, 875–76 (9th Cir.
                 2000) (considering whether the defendants’ challenged
                 conduct was “what every private party does in the open
                 market (notwithstanding the fact that their precise
                 undertakings were illegal)”); Cicippio v. Islamic Republic of
                 Iran, 30 F.3d 164, 167 (D.C. Cir. 1994) (“[W]e take from
                 Weltover the key proposition that in determining whether a
                 given government activity is commercial under the [FSIA],
                 we must ask whether the activity is one in which commercial
                 actors typically engage.”). “[W]hether a state acts ‘in the
                 manner of’ a private party is a question of behavior, not
                 motivation.” Nelson, 507 U.S. at 360 (citation omitted).

                     We have little difficulty in concluding that, without
                 more, a foreign government’s conduct of clandestine
                 surveillance and espionage against a national of another
                 nation in that other nation is not “one in which commercial
                 actors typically engage.” Cicippio, 30 F.3d at 167; see also,
                 e.g., Democratic Nat’l Comm. v. Russian Fed’n, 392 F.
                 Supp. 3d 410, 429 (S.D.N.Y. 2019) (“Transnational
                 cyberattacks are not the ‘type of actions by which a private
                 party engages in trade and traffic or commerce.’” (citation
                 omitted)). A foreign government engaged in such conduct
                 is not exercising “powers that can also be exercised by
                 private citizens,” but rather is employing powers that—
                 however controversial their status may be in international
                 law—are “peculiar to sovereigns.” Nelson, 507 U.S. at 360
                 (citations and internal quotation marks omitted).
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                     Plaintiffs point out that there are bad actors in the
                 commercial sphere who employ similar tactics, but any
                 application of this argument to the particular facts of this
                 case seems difficult to reconcile with Nelson. In that case,
                 plaintiff Scott Nelson was allegedly arrested, imprisoned,
                 and beaten by police officials in Saudi Arabia, assertedly in
                 retaliation for his reporting of safety defects in the state-
                 owned hospital at which he worked. 507 U.S. at 352–53.
                 Nelson and his wife sued both the Saudi government and the
                 hospital (among others), claiming that the commercial
                 activity exception applied in light of the employment-related
                 context in which the conduct occurred. Id. at 358. After
                 identifying the tortious conduct—e.g., the arrest,
                 imprisonment, and beatings—as “the basis for the Nelsons’
                 suit,” the Court held that this conduct “fail[ed] to qualify as
                 ‘commercial activity.’” Id. Emphasizing that the actual
                 tortious conduct was an exercise of the police power, rather
                 than an act that can be “‘performed by an individual acting
                 in his own name,’” the Court held that, “however monstrous
                 such abuse undoubtedly may be, a foreign state’s exercise of
                 the power of its police has long been understood for purposes
                 of the restrictive theory as peculiarly sovereign in nature.”
                 Id. at 361–62 (citation omitted). Just as exercising police
                 and penal powers “is not the sort of action by which private
                 parties can engage in commerce,” id. at 362, a foreign
                 government’s deployment of clandestine agents to collect
                 foreign intelligence on its behalf, without more, is the sort of
                 peculiarly sovereign conduct that all national governments
                 (including our own) assert the distinctive power to perform.
                 Because the conduct Qatar allegedly engaged in here “‘can
                 be performed only by the state acting as such,’” id.
                 (emphasis added) (citation omitted), it is not “commercial”
                 for purposes of the commercial activity exception. And we
                 agree with the D.C. Circuit to the extent that it concluded
                 that a foreign government’s use of “irregular operatives” to
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                 perform uniquely sovereign actions, such as occurred in this
                 case, is not sufficient to distinguish Nelson. Cicippio,
                 30 F.3d at 168.

                     Having determined that Qatar’s conduct of the espionage
                 action against Plaintiffs was not a commercial activity, we
                 also reject Plaintiffs’ argument that Qatar’s subsequent use
                 of the materials it obtained constituted a “commercial”
                 activity within the meaning of the FSIA. Although Plaintiffs
                 contend that the materials that were accessed and
                 disseminated included commercially sensitive materials,
                 including trade secrets, there is no allegation that Qatar made
                 commercial use of the materials. Plaintiffs contend that any
                 consideration of Qatar’s subsequent uses is an improper
                 consideration of purpose, but we disagree. The Supreme
                 Court confirmed in Weltover that it was not precluding
                 consideration of the “context” of a sovereign’s actions, and
                 what a foreign sovereign does with covertly obtained
                 intelligence is certainly an aspect of the “outward form of
                 the conduct that the foreign state performs.” 504 U.S. at 615,
                 617. To paraphrase the D.C. Circuit, when the outward
                 actions are judged in context, there is an objective difference
                 between (1) stealing the trade secrets of a “commercial
                 rival” and deploying them against that rival and (2) stealing
                 confidential materials from a policy critic and publishing
                 embarrassing excerpts from them. Cf. Cicippio, 30 F.3d
                 at 168 (“Perhaps a kidnapping of a commercial rival could
                 be thought to be a commercial activity.”). Here, the context
                 confirms that Qatar was not acting “in the manner of a
                 private player” in the marketplace. Weltover, 504 U.S.
                 at 614. Although the materials were of commercial value to
                 Plaintiffs, the statute’s focus is on whether the particular
                 actions that the foreign sovereign took amounted to the
                 conduct of “‘trade and traffic or commerce,’” id. (citation
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                 omitted), and we agree with the district court that they were
                 not.

                                              III

                     Our ruling in this case is neither an affirmation that the
                 alleged conduct actually occurred nor an endorsement of any
                 such conduct. Our task is to assume the allegations to be true
                 and then to apply the limitations of the FSIA according to
                 the statute’s plain terms. Having done so, we conclude that
                 the FSIA bars Plaintiffs’ claims against Qatar here.

                    The judgment of the district court is AFFIRMED.
